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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

JASON COMPTON, and all others
similarly situated,
      Plaintiff,
v.                                                    Case No. 1:19-cv-33-AW-GRJ
GENERAL MOTORS LLC,
     Defendant.
_______________________________/
                   SCHEDULING AND MEDIATION ORDER

      This order is entered upon consideration of the parties’ joint scheduling report

(ECF No. 54). Accordingly, IT IS ORDERED:

          1. The jury trial is set for the trial period that begins on September 28,

2021. A party with a conflict during that trial period must file a notice within 14 days

of the date of this order.

          2. The fact discovery deadline is 90 days after the Court’s ruling on

Plaintiff’s motion for class certification.

          3. The expert discovery deadline is 180 days after the Court’s ruling on

Plaintiff’s motion for class certification.

          4. The joint scheduling report (ECF No. 54) will control the matters it

addresses, except to the extent of any conflict with this order. On matters not




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addressed in this order or the joint scheduling report, the Initial Scheduling Order

(ECF No. 22) remains in effect.

          5. A pleading may be amended only by the deadline set out in the joint

scheduling report or on a motion showing good cause for not amending by that date.

When the Federal Rules of Civil Procedure allow an amendment only with leave of

court, a pleading may be amended only with leave of court.

          6. Disclosures under Federal Rule of Civil Procedure 26 must be

supplemented within a reasonable time after learning information calling for

supplementation and in time to ensure the opposing party is not prejudiced by any

failure to supplement immediately after the information was or with diligence should

have been discovered.

          7. The deadline for filing summary-judgment motions is 210 days after

the Court’s ruling on Plaintiff’s motion for class certification, but the motions should

be filed at the earliest appropriate time. It is rarely necessary that such motions

await the completion of all discovery.

          8. Local Rule 56.1 applies to summary-judgment motions. Additionally,

the parties must use the following procedures for filing summary judgment papers:

         (a) First, file a notice listing exhibits to be filed in support of or in

opposition to summary judgment. Include the exhibits as attachments to the




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notice on CM/ECF. Exhibits that cannot be filed on CM/ECF must be

submitted to the Clerk along with a hard-copy notice of filing.

        (b) Second, file the summary judgment memorandum (motion, response,

or reply) pinciting to the ECF number for the exhibit attached to the notice listing

the exhibits.

        (c) To the extent it is technologically feasible, each party must:

                (i) Highlight the portion of the exhibit it wishes this Court to see;

                and

                (ii) File deposition transcripts in a form where the text of the

                testimony is searchable with the control-F function.

         (d) The parties should take note that this Court reviews the cited portions

of the record. Discrepancies between factual assertions in the parties’ memoranda

and the actual record do not go unnoticed. The parties should take care to distinguish

between record evidence and inferences which can reasonably be made from that

evidence.

            9. Local Rule 54.1 applies to attorney’s fee records. A party must not file

attorney’s fee records until needed.

            10.Deadlines will be determined based on this order (including the joint

scheduling report to the extent made applicable by this order), other applicable




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orders, and the governing rules. Docket entries made by the Clerk of the Court are

for the Clerk’s internal use and are not controlling.

          11. By a separate Order for Pretrial Conference to be issued later, a

deadline will be set for an attorney conference leading to the filing of a pretrial

stipulation and related papers. The deadline for the attorney conference (as

established by the Order for Pretrial Conference) also will be the deadline for

disclosures under Federal Rule of Civil Procedure 26(a)(3). The deadline for

objections under Federal Rule of Civil Procedure 26(a)(3) is seven days later.

          12. A motion in limine or other pretrial motion shall be filed no later

than 15 days prior to the pretrial conference, with a response to the motion filed

no later than 5 days thereafter, to allow consideration of the motion at or prior

to the pretrial conference.

          13. The attorneys’ attention is directed to the American College of Trial

Lawyers Code of Pretrial Conduct and Code of Trial Conduct, which set out

standards of professionalism that are available on the Court’s website and at

https://www.actl.com/home/news-publications/position-statements-white-papers.

          14. Unless the requirement for mediation is abrogated based on a motion

showing good cause, the parties must mediate under the following procedures:




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             (a) The parties may select a mediator by agreement. If the parties have

not agreed 21 days before the discovery deadline, Plaintiff must immediately file a

notice so indicating, and the Court will appoint a mediator.

             (b) Unless otherwise agreed, the fee of the mediator must be paid

equally by the parties. The fee must be paid in the manner determined by the

mediator.

             (c) The first mediation conference must begin no later than 194

days after the Court’s ruling on Plaintiff’s motion for class certification, and

may begin at any earlier time.

             (d) The following MUST attend the mediation conference unless

excused in advance on a motion showing good cause:

                    (1) The attorney of record primarily responsible for the conduct

of this case on behalf of a party.

                    (2) Each party. A corporation, other private organization, or state

or local governmental entity or officer in his or her official capacity must attend

through a representative having full authority to settle the entire case for the party

without further consultation. The mediator may waive the requirement that the

attending representative’s full authority to settle be “without further consultation.”

Unless the mediator directs otherwise, the parties by agreement also may waive the

requirement that the attending representative’s full authority to settle be “without


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further consultation.” Unless otherwise ordered, an Assistant United States Attorney

may attend for the government.

                    (3) If a party is insured a representative of the insurer having full

authority to settle without further consultation. The mediator may waive the

requirement that the insurer’s representative’s full authority to settle be “without

further consultation.” Unless the mediator directs otherwise, the parties by

agreement also may waive the requirement that the attending insurer’s

representative’s full authority to settle be “without further consultation.”

             (e) A person’s failure to attend the mediation conference as required

ordinarily will result in the imposition of sanctions.

             (f) The parties must confer in advance on the submission of written

materials to the mediator and must proceed in accordance with any agreement they

reach or the instructions of the mediator. In the absence of an agreement or

instructions, no written submissions are required, but either party may submit

materials, which the mediator may consider as the mediator deems appropriate.

             (g) The mediator may control the procedures to be followed in

mediation, may adjourn the mediation conference and set a time for reconvening,

and may suspend or terminate mediation whenever the mediator believes further

mediation is not likely to lead to a settlement.




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             (h) Everything said during mediation—other than the terms of any

settlement agreement itself—will be off the record and inadmissible as settlement

negotiations. Mediation proceedings—other than any settlement agreement itself—

must not be recorded electronically or by a court reporter.

             (i) This referral to mediation does not extend any deadline.

             (j) Any partial or complete settlement must immediately be reduced to

writing in the presence of the mediator and must be signed by each party and an

attorney for each party.

             (k) Mediation must be completed no later than 208 days after the

Court’s ruling on Plaintiff’s motion for class certification. The mediator or a

party must file a report within 14 days after mediation ends indicating when

mediation was conducted and the outcome (that is, whether the case was settled,

or impasse was declared). If the case is settled in full, notice to the Court must

be immediate.

             (l) An attorney for each party must, within 14 days of the date of this

order, consult with the party about the advantages (including savings of costs and

attorney’s fees) and disadvantages of proceeding with mediation immediately rather

than awaiting the deadlines set in this order. On a party’s motion, the Court will

consider ordering that mediation commence immediately or at a time earlier than

required by this order.


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SO ORDERED on November 22, 2019.

                             s/ Allen Winsor
                             United States District Judge




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